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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF DELAWARE

             In re:
                                                                              Chapter 11
                                                               1
             Prime Core Technologies Inc., et al.,
                                                                              Case No. 23-11161 (JKS)
                                                               Debtors.
                                                                              (Jointly Administered)


                                                             AFFIDAVIT OF SERVICE

                   I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
            noticing agent for the Debtors in the above-captioned cases.

                   On November 15, 2023, at my direction and under my supervision, employees of Stretto
            caused the following documents to be served via first-class mail on the service list attached hereto
            as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

                      Debtors’ Second Omnibus Motion for Entry of an Order (A) Authorizing the Debtors
                       to Reject Certain Executory Contracts, Effective as of November 15, 2023, and (B)
                       Granting Related Relief (Docket No. 428)

                      Debtors’ Third Omnibus Motion for Entry of an Order (A) Authorizing the Debtors
                       to Reject Certain Executory Contracts, Effective as of November 15, 2023, and (B)
                       Granting Related Relief (Docket No. 429)

                    Furthermore, on November 15, 2023, at my direction and under my supervision, employees
            of Stretto caused the following document to be served via electronic mail on the service list
            attached hereto as Exhibit C:

                      Debtors’ Second Omnibus Motion for Entry of an Order (A) Authorizing the Debtors
                       to Reject Certain Executory Contracts, Effective as of November 15, 2023, and (B)
                       Granting Related Relief (Docket No. 428)




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            ______________________________________________
            1
              The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
            are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
            (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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                    Furthermore, on November 15, 2023, at my direction and under my supervision, employees
            of Stretto caused the following document to be served via electronic mail on the service list
            attached hereto as Exhibit D:

                    Debtors’ Third Omnibus Motion for Entry of an Order (A) Authorizing the Debtors
                     to Reject Certain Executory Contracts, Effective as of November 15, 2023, and (B)
                     Granting Related Relief (Docket No. 429)

                    In addition to the methods of service set forth herein, parties who have requested electronic
            notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
            documents via electronic service.


            Dated: November 21, 2023                                      _____________________________
                                                                               Andrew K. Fitzpatrick
            State of Colorado           )
                                        ) SS.
            County of Denver            )

            Subscribed and sworn before me this 21th day of November 2023 by Andrew K. Fitzpatrick.


            _____________________________
               (Notary’s official signature)




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                                                Exhibit A




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                                                                                               Exhibit A
                                                                                         Served via First-Class Mail


                                Name                                      Attention                      Address 1                          Address 2                   City     State     Zip     Country
  Internal Revenue Service                                                             PO Box 7346                                                               Philadelphia   PA     19101-7346
  Office of the Attorney General for the District of Columbia                          441 4Th St Nw, Ste 1100S                                                  Washington     DC     20001
  Office of the Attorney General for the District of Puerto Rico                       350 Carlos Chardón Street                Torre Chardón, Suite 1201        San Juan       PR     00918      Puerto Rico
  Office of the Attorney General for the State of Alabama                              501 Washington Ave                                                        Montgomery     AL     36104
  Office of the Attorney General for the State of Alaska                               1031 W 4th Ave, Ste 200                                                   Anchorage      AK     99501
  Office of the Attorney General for the State of Arizona                              2005 N Central Ave                                                        Phoenix        AZ     85004
  Office of the Attorney General for the State of Arkansas                             323 Center St, Ste 200                                                    Little Rock    AR     72201
  Office of the Attorney General for the State of California                           PO Box 944255                                                             Sacramento     CA     94244-2550
  Office of the Attorney General for the State of Colorado                             Ralph L. Carr Judicial Building          1300 Broadway, 10Th Fl           Denver         CO     80203
  Office of the Attorney General for the State of Connecticut                          165 Capitol Ave                                                           Hartford       CT     06106
  Office of the Attorney General for the State of Florida                              The Capitol Pl-01                                                         Tallahassee    FL     32399
  Office of the Attorney General for the State of Georgia                              40 Capitol Sq Sw                                                          Atlanta        GA     30334
  Office of the Attorney General for the State of Hawaii                               425 Queen Street                                                          Honolulu       HI     96813
  Office of the Attorney General for the State of Idaho                                700 W. Jefferson St, Suite 210                                            Boise          ID     83720
  Office of the Attorney General for the State of Illinois                             James R. Thompson Center                 100 W. Randolph St               Chicago        IL     62706
  Office of the Attorney General for the State of Indiana                              Indiana Government Center South          302 W Washington St 5Th Fl       Indianapolis   IN     46204
  Office of the Attorney General for the State of Iowa                                 Hoover State Office Building             1305 E. Walnut Street Rm 109     Des Moines     IA     50319
  Office of the Attorney General for the State of Kansas                               120 SW 10Th Ave, 2nd Fl                                                   Topeka         KS     66612
  Office of the Attorney General for the State of Kentucky                             Capitol Building                         700 Capitol Ave Ste 118          Frankfort      KY     40601
  Office of the Attorney General for the State of Louisiana                            1885 N. Third St                                                          Baton Rouge LA        70802
  Office of the Attorney General for the State of Maine                                6 State House Station                                                     Augusta        ME     04333
  Office of the Attorney General for the State of Maryland                             200 St. Paul Pl                                                           Baltimore      MD     21202
  Office of the Attorney General for the State of Massachusetts                        1 Ashburton Place, 20Th Floor                                             Boston         MA     02108
  Office of the Attorney General for the State of Michigan                             G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                  Lansing        MI     48909
  Office of the Attorney General for the State of Minnesota                            445 Minnesota St, Ste 1400                                                St. Paul       MN     55101
  Office of the Attorney General for the State of Mississippi                          Walter Sillers Building                  550 High St Ste 1200             Jackson        MS     39201
  Office of the Attorney General for the State of Missouri                             Supreme Court Building                   207 W High St                    Jefferson City MO 65101
  Office of the Attorney General for the State of Montana                              215 N. Sanders                           Justice Building, Third Fl       Helena         MT     59601
  Office of the Attorney General for the State of Nebraska                             2115 State Capitol                                                        Lincoln        NE     68509
  Office of the Attorney General for the State of Nevada                               Old Supreme Court Building               100 N Carson St                  Carson City    NV     89701
  Office of the Attorney General for the State of New Hampshire                        Nh Department Of Justice                 33 Capitol St.                   Concord        NH     03301
  Office of the Attorney General for the State of New Jersey                           Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing   Trenton        NJ     08611
  Office of the Attorney General for the State of New Mexico                           408 Galisteo Street                      Villagra Building                Santa Fe       NM     87501
  Office of the Attorney General for the State of New York                             The Capitol                              2nd Floor                        Albany         NY     12224
  Office of the Attorney General for the State of North Carolina                       114 W Edenton St                                                          Raleigh        NC     27603
  Office of the Attorney General for the State of North Dakota                         State Capitol, 600 E Boulevard Ave       Dept. 125                        Bismarck       ND     58505
  Office of the Attorney General for the State of Ohio                                 State Office Tower                       30 E Broad St 14Th Fl            Columbus       OH     43215
  Office of the Attorney General for the State of Oklahoma                             313 Ne 21St St                                                            Oklahoma City OK      73105
  Office of the Attorney General for the State of Oregon                               1162 Court St NE                                                          Salem          OR     97301
  Office of the Attorney General for the State of Pennsylvania                         Strawberry Square 16Th Fl                                                 Harrisburg     PA     17120
  Office of the Attorney General for the State of Rhode Island                         150 S Main St                                                             Providence     RI     02903
  Office of the Attorney General for the State of South Carolina                       Rembert C. Dennis Bldg                   1000 Assembly St Rm 519          Columbia       SC     29201
  Office of the Attorney General for the State of South Dakota                         1302 E Highway 14, Ste 1                                                  Pierre         SD     57501
  Office of the Attorney General for the State of Tennessee                            301 6Th Ave N                                                             Nashville      TN     37243
  Office of the Attorney General for the State of Texas                                300 W. 15Th St                                                            Austin         TX     78701
  Office of the Attorney General for the State of Utah                                 Utah State Capitol Complex               350 North State St Ste 230       Salt Lake City UT     84114
  Office of the Attorney General for the State of Vermont                              109 State St.                                                             Montpelier     VT     05609
  Office of the Attorney General for the State of Virginia                             202 N. Ninth St.                                                          Richmond       VA     23219
  Office of the Attorney General for the State of Washington                           1125 Washington St Se                                                     Olympia        WA 98501
  Office of the Attorney General for the State of Washington                           PO Box 40100                                                              Olympia        WA 98504
  Office of the Attorney General for the State of West Virginia                        State Capitol, 1900 Kanawha Blvd E       Building 1 Rm E-26               Charleston     WV 25305

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                                                                                                Served via First-Class Mail


                                Name                                     Attention                             Address 1                                Address 2             City    State     Zip        Country
  Office of the Attorney General for the State of Wisconsin                                   17 West Main Street, Room 114 East P                                       Madison      WI    53702
  Office of the Attorney General for the State of Wyoming                                     Kendrick Building                            2320 Capitol Ave              Cheyenne     WY 82002
                                                               Attn: Linda Casey & Joseph
  Office of The U.S. Trustee for the District of Delaware      Cudia                          844 N King St #2207                          Lockbox 35                    Wilmington   DE    19801
                                                               Attn: Andrew Calamari,
  Securities And Exchange Commission                           Regional Director              New York Regional Office, Brookfield Place   200 Vesey Street, Suite 400   New York     NY    10281-1022
  Securities And Exchange Commission                           Attn: Lara Shalov Mehraban     100 Pearl St                                 Suite 20-100                  New York     NY    10004-2616

  Securities And Exchange Commission                           Attn: Secretary of The Treasury 100 F Street, NE                                                          Washington   DC    20549
  US Attorney’s Office for the District of Delaware                                            1313 N Market Street                                                      Wilmington   DE    19801




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                                                Exhibit B




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                                                                                      Exhibit B
                                                                                Served via Electronic Mail

                                   Name                                           Attention 1                       Attention 2                                Email
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    Allegheny Casualty Company                                       Hayden, P.C.                       Firth, III                            wfirth@pashmanstein.com
    Allsectech, Inc.                                                 Attn: Aviral Dhirendra                                                   aviral198828@gmail.com
                                                                     c/o Troutman Pepper Hamilton       Attn: David M. Fournier & Evelyn J.   david.fournier@troutman.com
    AnchorCoin LLC                                                   Sanders LLP                        Meltzer                               evelyn.meltzer@troutman.com
    Austin Ward                                                                                                                               austindward@proton.me
                                                                     c/o Meyers, Roman, Friedberg &
    Coinbits, Inc.                                                   Lewis LPA                          Attn: David M Newumann                dneumann@meyersroman.com
                                                                                                                                             susheelkirpalani@quinnemanuel.com
                                                                                                                                             pattytomasco@quinnemanuel.com
                                                                                                       Attn: Susheel Kirpalani & Patricia B. danielholzman@quinnemanuel.com
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    Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings   c/o Quinn Emanuel Urquhart &      Jaquet & Razmig Izakelian &           razmigizakelian@quinnemanuel.com
    Ltd., and Bittrex Malta Ltd.                                     Sullivan, LLP                     Joanna Caytas                         joannacaytas@quinnemanuel.com
    Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings   c/o Young Conaway Stargatt &      Attn: Robert S. Brady & Kenneth J. rbrady@ycst.com
    Ltd., and Bittrex Malta Ltd.                                     Taylor, LLP                       Enos                                  kenos@ycst.com
    DMG Blockchain Solutions, Inc.                                   Attn: Steven Eliscu                                                     steve@dmgblockchain.com
                                                                                                                                             akornfeld@pszjlaw.com
                                                                     c/o Pachulski Stang Ziehl & Jones Attn: Alan J. Kornfeld & Jason H.     jrosell@pszjlaw.com
    George Georgiades, Kevin Lehtiniitty, and Scott Purcell          LLP                               Rosell & James E. O’Neill             joneill@pszjlaw.com
                                                                     c/o Gellert Scali Busenkell &
    Kado Software, Inc.                                              Brown, LLC                        Attn: Michael Van Gorder              mvangorder@gsbblaw.com
    Kado Software, Inc.                                              c/o Raines Feldman Littrell LLP   Attn: David S. Forsh                  dforsh@raineslaw.com
    Net Cents Technology, Inc.                                       Attn: Clayton Moore                                                     claytonmoore@net-cents.com
    Office of the Attorney General for the District of Columbia                                                                              oag@dc.gov
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    Office of the Attorney General for the State of California                                                                               xavier.becerra@doj.ca.gov
    Office of the Attorney General for the State of Colorado                                                                                 DOR_TAC_Bankruptcy@state.co.us
    Office of the Attorney General for the State of Connecticut                                                                              attorney.general@ct.gov
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    Office of the Attorney General for the State of Maryland                                                                                 oag@oag.state.md.us
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    Office of the Attorney General for the State of Michigan                                                                                 miag@michigan.gov
    Office of the Attorney General for the State of Missouri                                                                                 consumer.help@ago.mo.gov
    Office of the Attorney General for the State of New Hampshire                                                                            attorneygeneral@doj.nh.gov
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                                                                                     Exhibit B
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                                  Name                                         Attention 1                          Attention 2                            Email
    Office of the Attorney General for the State of North Dakota                                                                            ndag@nd.gov
    Office of the Attorney General for the State of Oklahoma                                                                                questions@oag.ok.gov
    Office of the Attorney General for the State of Utah                                                                                    uag@utah.gov
    Office of the Attorney General for the State of Vermont                                                                                 ago.info@vermont.gov
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                                                                                                       Attn: Robert J. Stark & Bennett S.   bsilverberg@brownrudnick.com
                                                                                                       Silverberg & Kenneth J. Aulet &      kaulet@brownrudnick.com
    Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP              Jennifer M. Schein                   jschein@brownrudnick.com
                                                                                                       Attn: Tristan G. Axelrod & Matthew   taxelrod@brownrudnick.com
    Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP              A. Sawyer                            msawyer@brownrudnick.com
                                                                    c/o Womble Bond Dickinson (US)     Attn: Donald J. Detweiler & Elazar   don.detweiler@wbd-us.com
    Official Committee of Unsecured Creditors                       LLP                                A. Kosman                            elazar.kosman@wbd-us.com
    OKCoin USA Inc. and OKC USA Holding Inc.                        c/o Duane Morris LLP               Attn: Sommer L. Ross                 slross@duanemorris.com
                                                                    c/o Buchalter, A Professional
    Oracle America, Inc.                                            Corporation                        Attn: Shawn M. Christianson          schristianson@buchalter.com
                                                                    c/o McElroy, Deutsch, Mulvaney &
    Philadelphia Indemnity Insurance Company                        Carpenter, LLP                     Attn: Gary D. Bressler               gbressler@mdmc-law.com
    Polaris Ventures                                                Attn: Ruairi Donnelly                                                   ruairi.donnelly@polaris-ventures.org
                                                                    c/o Mintz, Levin, Cohn, Ferris,
    Polaris Ventures                                                Glovsky and Popeo, P.C.            Attn: Abigail O’Brient               aobrient@mintz.com
                                                                    c/o Mintz, Levin, Cohn, Ferris,
    Polaris Ventures                                                Glovsky and Popeo, P.C.            Attn: Joseph R. Dunn                 jrdunn@mintz.com
                                                                    c/o Young Conaway Stargatt &       Attn: Michael R. Nestor & Ryan M.    mnestor@ycst.com
    Polaris Ventures                                                Taylor, LLP                        Bartley                              rbartley@ycst.com
    Securities And Exchange Commission                              Attn: Lara Shalov Mehraban                                              nyrobankruptcy@sec.gov
    Stably Corporation                                              Attn: Ivan Inchauste                                                    ivan@stably.io
                                                                                                                                            JWilliamson@gravislaw.com
    Stably Corporation                                              c/o Gravis Law, PLLC               Attn: Jill Williamson                MPyfrom@gravislaw.com
                                                                                                                                            JOLeary@gravislaw.com
                                                                                                                                            DCannon@gravislaw.com
                                                                                                                                            MHess@gravislaw.com
    Stably Corporation                                              c/o Gravis Law, PLLC               Attn: John W. O'Leary                HHarden@gravislaw.com
    Thomas Pageler                                                  c/o Clark Hill PLC                 Attn: Karen M. Grivner               kgrivner@clarkhill.com
                                                                                                       Attn: Tobias S. Keller & Traci L.    tkeller@kbkllp.com
    Tiki Labs, Inc. dba Audius Inc.                                 c/o Keller Benvenutti Kim LLP      Shafroth                             tshafroth@kbkllp.com
                                                                    c/o Pashman Stein Walder Hayden
    Tiki Labs, Inc. dba Audius Inc.                                 PC                              Attn: John W. Weiss                     jweiss@pashmanstein.com
    US Attorney’s Office for the District of Delaware                                                                                       USADE.ECFBANKRUPTCY@usdoj.gov
    Yousef Abbasi                                                                                                                           Yousef.a.abbasi@gmail.com


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                                                Exhibit C




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                                                                                Exhibit C
                                                                          Served via Electronic Mail
                                                                Name                                    Email
                                              1Konto                                    edwin@1konto.com
                                              Alianza Financial INC                     dancival@gmail.com
                                                                                        services@onealpha.io
                                              Alpha Node Limited                        matt@onealpha.io
                                                                                        compliance@aptaccounts.com
                                              Apt Systems Inc                           aptsystems11@gmail.com
                                              Archblock (TrustToken, Inc)               alex.delorraine@trusttoken.com
                                              Arete Incident Response                   jmorrissey@areteir.com
                                              Arkeytyp Holdings Limited                 nicholas@arkeytyp.com
                                                                                        jvanselow@augeomarketing.com
                                              Augeo                                     dskristal@augeomarketing.com
                                                                                        christopher.blodgett@binance.us
                                              BAM Trading Services Inc.                 katrina.fava@binance.us
                                              Bitcoin Solutions, Inc                    noel@bitcards.com
                                              (BSI/BitCards/Mybitcards)                 ed.gieske@bitcards.com
                                                                                        dcohen@bittrex.com
                                              Bittrex                                   luke@bittrex.com
                                              Bold                                      zack@getbold.io
                                              Bosonic                                   rosario@bosonic.digital
                                              Caramba                                   chris@caramba.money
                                              Change Digital Commerce Inc.              daniel@changedigital.cash
                                              Chasm Labs LLC                            mike.kolzet@chasmlabs.io
                                              Clear Junction Limited                    teresa@clearjunction.com
                                              Coast Software LLC                        tim@0xcoast.com
                                              CoinBits App                              maher@coinbitsapp.com
                                              CoinFLEX US LLC                           mark@coinflex.com
                                              Coinfront                                 ash@coinfront.io
                                              CoinMetro                                 kevin@coinmetro.com
                                              Compass Bank and Trust                    svidela@compass-bank.com
                                              Compass Mining, Inc.                      jameson@compassmining.io
                                              Cornerstone Global Management, Inc.       david.schwartz@gethedge.io
                                              Crescent Save LLC                         grant@crescent.app
                                              Dapper Labs Inc.                          sam@dapperlabs.com
                                              Daynight Capital Inc.                     mcopello@pollux.finance
                                                                                        Carlos@dexfreight.io
                                              Dexfreight                                Hector@dexfreight.io
In re: Prime Core Technologies Inc., et al.
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                                                                               Exhibit C
                                                                         Served via Electronic Mail
                                                             Name                                      Email
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                                              Eco, Inc                                 nishi@eco.com
                                                                                       kodama@emurgo.io
                                                                                       vineeth@emurgo.io
                                              Emurgo                                   sk.lau@emurgo.io
                                                                                       backefr@estructurasdesk.com
                                              Estructuras Financieras                  backoffice@estructurasdesk.com
                                              Finepine Digital Platform Corp           pushnovn@gmail.com
                                              FirstPayment USA Inc.                    alex@firstpayment.io
                                              Fluent Finance                           bradley@fluent.finance
                                                                                       connor@freedomgateway.com
                                              Freedom Gateway LLC                      danaustin219@gmail.com
                                              GiveBitcoin                              cory@swanbitcoin.com
                                              Glo Development Foundation, Inc.         jeff@globalincomecoin.com
                                              Global Internet Ventures Pty Ltd         jan@banxa.com
                                                                                       kgs@gorillalabs.co
                                              Gorilla Labs                             ss@gorillalabs.co
                                              INNOVATION TRUST BANK ITL (Park
                                              Ave Finance)                             npierce@parkavenuefinance.com
                                              InTuition Exchange Inc.                  jsamuel@coinsforcollege.org
                                              ITW LLC                                  info@it-pay.us
                                              IUBank                                   ldegwitz@iubank.com
                                              Jawudi, Inc.                             rahim@jawudi.com
                                              Kado Software, Inc.                      emery@kado.money
                                                                                       one@karta.io
                                              Karta                                    rad@karta.io
                                                                                       sandraw@lode.one
                                              Lode                                     brucek@lode.one
                                                                                       jim@lyfecyclepayments.com
                                              Lyfe Cycle Payments                      daniel@lyfecyclepayments.com
                                                                                       gajendra@rampay.io
                                              Metahill Inc                             sagar@rampay.io
                                              Morning Star Enterprises                 capitalism1992@protonmail.com
                                              Net24-7                                  jpinzon@net24-7.com
                                              NetCents Technology Inc.                 jenn.lowther@net-cents.com


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                                                                              Exhibit C
                                                                        Served via Electronic Mail
                                                                Name                                  Email
                                                                                      pierre@neuraltechnologies.io
                                                                                      austin@neuraltechnologies.io
                                              Neural Labs LLC                         sunny@neuraltechnologies.io
                                                                                      malcolm@neutronpay.com
                                              Neutronpay Inc.                         albert@neutronpay.com
                                              Nexxdiotc                               ricardo.gonzalez@nexxdiotc.com
                                              NYXEX US Holdings                       s.foster@nyxex.com
                                              OKCoin                                  philip.wei@okcoin.com
                                                                                      kasey@onrampinvest.com
                                              OnRamp Invest                           eervin@onrampinvest.com
                                                                                      rui@opennode.com
                                                                                      julie@opennode.com
                                                                                      matt@opennode.com
                                              OpenNode                                alex@opennode.com
                                              Ottr Finance Inc.                       a@ottr.finance
                                              Oval Finance                            chinedu@ovalfi.com
                                              OVEX                                    jon@ovex.io
                                              PAF Statutory Trust                     pbarr@parkavenuefinance.com
                                              Pagotec Consultancy LTD                 adm@pagotec.io
                                              Pagotronic                              lrojas@pagotronic.com
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                                              Pluto                                   jacob@plutohq.io
                                              Plutus Financial                        willie@abra.com
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                                              Pythas Capital                          davidbmons@gmail.com
                                              Quarter Systems Corporation             pat@utilla.io
                                              Realio                                  derek@realio.fund
                                              Redline Blockchain                      soren@redlineblockchain.com
                                              Republic.co                             legal@republic.co
                                              Save Change LLC                         david@hodlit.com
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                                                                                 Exhibit C
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                                               Exhibit D




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                                                                              Exhibit D
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